






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00645-CR





Jesse Flores, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF HARRIS COUNTY, 182ND JUDICIAL DISTRICT

NO. 0993242, HONORABLE JEANNINE BARR, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellant Jesse Flores, acting pro se, filed his notice of appeal in this Court on
October 9, 2008.  Upon receipt of the notice of appeal, this Court notified Flores of his responsibility
to provide a docketing statement.  See Tex. R. App. P. 32.2.  Flores subsequently provided a
docketing statement, as well as a copy of the judgment of conviction, which revealed that the
judgment of conviction in this case was rendered by a Harris County district court.  Harris County
is not located in the Third Court of Appeals district.  Consequently, we are without jurisdiction to
consider Flores's appeal.  This appeal is dismissed for want of jurisdiction.


						 __________________________________________

						Diane M. Henson, Justice

Before Justices Patterson,Waldrop and Henson

Dismissed for Want of Jurisdiction

Filed:   January 9, 2009

Do Not Publish 


